         Case 8:20-bk-11509-ES     Doc 29-1    Filed 09/17/21    Entered 09/17/21 12:20:57     Desc
                         UNITED STATES DEPARTMENT OF JUSTICE
                                 Supporting Documentation Page 1 of 4
                         OFFICE OF THE UNITED STATES TRUSTEE
                           CENTRAL DISTRICT OF CALIFORNIA
In Re:                                         CHAPTER 11 (BUSINESS)
   HNA, Inc.
                                               Case Number:             8:k-bk-11509-ES
                                               Operating Report Number:                   15
                                  Debtor(s).   For the Month Ending:               8/31/2021

                          I. CASH RECEIPTS AND DISBURSEMENTS
                                 A. (GENERAL ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                            2,774.50

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                   650.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                              2,124.50

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing
   Accounts Receivable - Pre-filing
   General Sales
   Other (Specify)
   **Other (Specify)

  TOTAL RECEIPTS THIS PERIOD:                                                          0.00

5. BALANCE:                                                                        2,124.50

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)                  0.00
   Disbursements (from page 2)                                    0.00

  TOTAL DISBURSEMENTS THIS PERIOD:***                                                  0.00

7. ENDING BALANCE:                                                                 2,124.50

8. General Account Number(s):

  Depository Name & Location:
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                                                            IX. PROFIT
                                                           Supporting  AND LOSS STATEMENT
                                                                      Documentation Page 2 of 4
                                                                   (ACCRUAL BASIS ONLY)

                                                                                Current Month    Cumulative Post-Petition
Sales/Revenue:
   Gross Sales/Revenue
   Less: Returns/Discounts
                                                            Net Sales/Revenue             0.00                      0.00

Cost of Goods Sold:
  Beginning Inventory at cost
  Purchases
  Less: Ending Inventory at cost
                            Cost of Goods Sold (COGS)                                     0.00                      0.00

Gross Profit                                                                              0.00                      0.00

    Other Operating Income (Itemize)

Operating Expenses:
  Payroll - Insiders
  Payroll - Other Employees
  Payroll Taxes
  Other Taxes (Itemize)
  Depreciation and Amortization
  Rent Expense - Real Property
  Lease Expense - Personal Property
  Insurance
  Real Property Taxes
  Telephone and Utilities
  Repairs and Maintenance
  Travel and Entertainment (Itemize)
  Miscellaneous Operating Expenses (Itemize)
                              Total Operating Expenses                                    0.00                      0.00
                                      Net Gain/(Loss) from Operations                     0.00                      0.00

Non-Operating Income:
  Interest Income
  Net Gain on Sale of Assets (Itemize)
  Other (Itemize)
                           Total Non-Operating income                                     0.00                      0.00

Non-Operating Expenses:
  Interest Expense
  Legal and Professional (Itemize)                                                        0.00                   650.00
  Other (Itemize)
                         Total Non-Operating Expenses                                     0.00                   650.00

NET INCOME/(LOSS)                                                                         0.00                   (650.00)
(Attach exhibit listing all itemizations required above)
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                                                    BALANCE SHEETPage 3 of 4
                                                   (ACCRUAL BASIS ONLY)

ASSETS                                                           Current Month End
  Current Assets:
  Unrestricted Cash                                                       2,124.50
  Restricted Cash
  Accounts Receivable
  Inventory
  Notes Receivable
  Prepaid Expenses
  Other (Itemize)                                                     1,041,000.00    Long-term equity investments
                                        Total Current Assets                                                 1,043,124.50

Property, Plant, and Equipment
Accumulated Depreciation/Depletion
                       Net Property, Plant, and Equipment                                                           0.00

Other Assets (Net of Amortization):
  Due from Insiders
  Other (Itemize)
                                          Total Other Assets                                                        0.00
TOTAL ASSETS                                                                                                1,043,124.50

LIABILITIES
Post-petition Liabilities:
  Accounts Payable
  Taxes Payable
  Notes Payable
  Professional fees
  Secured Debt
  Other (Itemize)
                             Total Post-petition Liabilities                                                        0.00

Pre-petition Liabilities:
   Secured Liabilities
   Priority Liabilities
   Unsecured Liabilities
   Other (Itemize)
                                Total Pre-petition Liabilities                                                      0.00
TOTAL LIABILITIES                                                                                                   0.00

EQUITY:
  Pre-petition Owners’ Equity                                         1,043,774.50
  Post-petition Profit/(Loss)                                              (650.00)
  Direct Charges to Equity
TOTAL EQUITY                                                                                                1,043,124.50
TOTAL LIABILITIES & EQUITY                                                                                  1,043,124.50
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P.O. Box 15284
Wilmington, DE 19850
                                                                                        Customer service information


                                                                                        Customer service: 1.888.400.9009

                                                                                        bankofamerica.com
  HYT NORTH AMERICA INC
                                                                                        Bank of America, N.A.
  DEBTOR IN POSSESSION CASE 20-11507
                                                                                        P.O. Box 25118
  3315 COMMERCE PKWY                                                                    Tampa, Florida 33622-5118
  MIRAMAR, FL 33025-3954




Your Full Analysis Business Checking
for August 1, 2021 to August 31, 2021                                             Account number:                    9450
HYT NORTH AMERICA INC                     DEBTOR IN POSSESSION CASE 20-11507

Account summary
Beginning balance on August 1, 2021                                $2,124.50   # of deposits/credits: 0
Deposits and other credits                                              0.00   # of withdrawals/debits: 0
Withdrawals and other debits                                           -0.00   # of days in cycle: 31
Checks                                                                 -0.00   Average ledger balance: $2,124.50
Service fees                                                           -0.00

Ending balance on August 31, 2021                                 $2,124.50




PULL: E CYCLE: 62 SPEC: E DELIVERY: E TYPE:   IMAGE: A BC: JAX                                                     Page 1 of 4
